

National Air Cargo, Inc. v Jenner &amp; Block, LLP (2022 NY Slip Op 01902)





National Air Cargo, Inc. v Jenner &amp; Block, LLP


2022 NY Slip Op 01902


Decided on March 18, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 18, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., NEMOYER, CURRAN, AND BANNISTER, JJ.


50 CA 21-00529

[*1]NATIONAL AIR CARGO, INC., NATIONAL AIR CARGO HOLDINGS, CHRIS ALF, PERSONALLY, PLAINTIFFS-APPELLANTS, ET AL., PLAINTIFFS,
vJENNER &amp; BLOCK, LLP, DEFENDANT-RESPONDENT, ET AL., DEFENDANTS. (APPEAL NO. 3.) 






HANTMAN &amp; ASSOCIATES, NEW YORK CITY (ROBERT J. HANTMAN OF COUNSEL), FOR PLAINTIFFS-APPELLANTS. 
HODGSON RUSS LLP, BUFFALO (KEVIN M. KEARNEY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order and judgment (one paper) of the Supreme Court, Erie County (Emilio L. Colaiacovo, J.), entered November 6, 2020. The order and judgment granted the motion of defendant Jenner &amp; Block, LLP to dismiss plaintiffs' complaint against it. 
It is hereby ORDERED that the order and judgment so appealed from is unanimously affirmed without costs.
Same memorandum as in National Air Cargo, Inc. v Jenner &amp; Block, LLP ([appeal No. 1] — AD3d — [Mar. 18, 2022] [4th Dept 2022]).
Entered: March 18, 2022
Ann Dillon Flynn
Clerk of the Court








